Case: 1:19-Cv-OOO45 Doc. #: 1-1 Filed: 03/14/19 Page: 1 of 1 Page|D #: 7

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
SOUTHEASTERN DIVISION

BMF, A Minor, by and through
Her Father and Next Friend,
TERRY FINLEY,

Plaintiff, Case No.

VS.

HUAWEI TECHNOLOGIES USA, INC.

\_/\/\/\/\./\_/\/\/VV

Defendant.

PETITION OF TERRY FINLEYR FOR APPOINTMENT
AS NEXT FRIEND OF BMF A MINOR

 

Cornes now, TERRY FINLEY., by and through his undersigned attorneys, and
hereby petitions the Court to appoint him the Next Friend of the minor, BMF, D/O/B
06/04/2004, for the purpose of prosecuting the above styled action pursuant to Federal

Rule of Civil Procedure 17(0)(2) and Missouri Supreme Court Rule 52.02.

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